          Case 2:19-cv-00021-SWS Document 48 Filed 09/03/19 Page 1 of 1
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                                                   OFFICE OF THE CLERK
                               UNITED STATES DISTRICT COURT
                                                  For The District of Wyoming

                                                                                                                    Maggie Botkins
Stephan Harris                                                                                                      Chief Deputy Clerk
 Clerk of Court



                                                      September 3, 2019

  Elisabeth A. Shumaker, Clerk of Court
  United States Court of Appeals for the 10th Circuit
  Byron R. White Courthouse
  1823 Stout Street
  Denver, Colorado 80257

             Re:      Bronnenberg v. Eggar et al
                      District Court Case Number: 2:19-cv-00021-SWS
                      Notice of Appeal filed: 9/3/2019
                      $500.00 fee was not paid * $5.00 fee was not paid; Receipt # N/A

  Dear Ms. Shumaker:

          Attached are documents filed in connection with the Notice of Appeal in this case, which will
  constitute the preliminary record on appeal:

             ! Copy of the district court docket entries.

             ! Copy of the notice of appeal.

             ! Copy of the district court's final judgment or order(s) from which the appeal is taken, as follows:

  10 ORDER On 28 U.S.C. § 1915 Screening of Amended Complaint 9 by the Honorable Scott W
  Skavdahl.
  45 ORDER GRANTING 28 Defendant's Motion for Summary Judgment by the Honorable Scott
  W Skavdahl
  46 JUDGMENT in favor of Defendant by the Honorable Scott W Skavdahl.

             If any thing further is required, please let me know.

                                                                     Sincerely,

                                                                     STEPHAN HARRIS
                                                                     Clerk of Court

                                                               By:    Tiffany Dyer
                                                                     Deputy Clerk
  Attachment(s)

       The procedures and appeals packet may be obtained from our website at http://www.wyd.uscourts.gov
         2120 Capitol Avenue, Room 2131 — Cheyenne, WY 82001              111 South Wolcott, Suite 121 — Casper, WY 82601
                  (307) 433-2120 — Fax: (307) 433-2152                         (307) 232-2620 — Fax: (307) 232-2630
                                                       www.wyd.uscourts.gov
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                                                                        APPEAL,PROSE,TERMED
                                  U.S. District Court
                           District of Wyoming (Cheyenne)
                   CIVIL DOCKET FOR CASE #: 2:19−cv−00021−SWS
                                   Internal Use Only

   Bronnenberg v. Egger et al                             Date Filed: 01/30/2019
   Assigned to: Honorable Scott W Skavdahl                Date Terminated: 08/05/2019
   Referred to: Honorable Kelly H Rankin                  Jury Demand: Plaintiff
   Case in other court: USCA, 19−08026                    Nature of Suit: 440 Civil Rights: Other
   Cause: 42:1983 Civil Rights Act                        Jurisdiction: Federal Question
   Plaintiff
   Tami Mae Bronnenberg                      represented by Tami Mae Bronnenberg
                                                            P O Box 802
                                                            Cody, WY 82414
                                                            307/899−2150
                                                            PRO SE


   V.
   Defendant
   Beau J Egger                              represented by Adrian K Kowalski
   also known as                                            WYOMING ATTORNEY GENERAL
   Beau J Eggar                                             2320 Capital Avenue
                                                            Cheyenne, WY 82002
                                                            307/777−7580
                                                            Fax: 307/777/8920
                                                            Email: adrian.kowalski@wyo.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                          Daniel E White
                                                          WYOMING ATTORNEY GENERAL
                                                          2424 Pioneer Avenue
                                                          Cheyenne, WY 82002
                                                          307/777−7495
                                                          Fax: 307/777−8920
                                                          Email: heather.hunter@wyo.gov
                                                          TERMINATED: 06/25/2019

   Defendant
   William K Struemke
   attorney
   TERMINATED: 02/25/2019

   Defendant


                                                                                                    1
        Case 2:19-cv-00021-SWS Document 48-1 Filed 09/03/19 Page 2 of 85
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   Sara L Struemke
   secretary
   TERMINATED: 02/25/2019

   Defendant
   Servicm Legal Services LLC
   TERMINATED: 02/25/2019

   Defendant
   DC Marlin D Richardson
   TERMINATED: 02/25/2019

   Defendant
   Big Horn Basin Chiropractic
   TERMINATED: 02/25/2019

   Defendant
   Cody WY
   TERMINATED: 02/25/2019

   Defendant
   Park County Detention Center
   TERMINATED: 02/25/2019

   Defendant
   Park County Board of County
   Commissioners
   TERMINATED: 02/25/2019


    Date Filed    #   Page Docket Text
    01/30/2019    1         COMPLAINT with Jury Demand filed by Tami Mae Bronnenberg
                            (Attachments: # 1 Requests for Consent to Sue, # 2 Mailing Label) (Court Staff,
                            sbh) (Entered: 01/30/2019)
    01/30/2019    2         MOTION to Proceed In Forma Pauperis filed by Plaintiff Tami Mae
                            Bronnenberg (Court Staff, sbh) Modified to remove termination on 2/25/2019
                            (Court Staff, scat). (Entered: 01/30/2019)
    01/30/2019    3         MOTION to Appoint Counsel filed by Plaintiff Tami Mae Bronnenberg
                            (Attachments: # 1 Proposed Order) (Court Staff, sbh) Modified on 2/28/2019
                            (Court Staff, scat). (Entered: 01/30/2019)
    01/30/2019    4         MOTION for Service of Process at Government Expense filed by Plaintiff Tami
                            Mae Bronnenberg (Attachments: # 1 Proposed Order) (Court Staff, sbh)
                            (Entered: 01/30/2019)
    02/01/2019    5         ORDER Dismissing Complaint on 28 U.S.C. §1915 Screening by the
                            Honorable Scott W Skavdahl. All pending Motions in this case are denied as
                            moot. Copy of Order provided to Plaintiff by U.S. Mail.(Court Staff, scat)

                                                                                                              2
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                        (Entered: 02/01/2019)
   02/04/2019   6       MOTION REFERRED TO Judge Kelly H Rankin. MOTION to Amend/Correct
                        1 Complaint filed by Plaintiff Tami Mae Bronnenberg. (Court Staff, sal)
                        (Entered: 02/04/2019)
   02/05/2019   7       ORDER by the Honorable Kelly H Rankin granting 6 MOTION to
                        Amend/Correct 1 Complaint filed by Plaintiff Tami Mae Bronnenberg. IT IS
                        ORDERED Plaintiff's Motion to Amend 1983 Civil Rights Complaint [Doc. 6]
                        is GRANTED. IT IS FURTHER ORDERED Plaintiff may file an Amended
                        Complaint on or before February 22, 2019. IT IS FURTHER ORDERED
                        Plaintiff provide the Court with a complete Amended Complaint.Plaintiff sent a
                        copy of this Order via U.S. Postal Service sent on 2/5/2019. (Court Staff, sjgc)
                        (Entered: 02/05/2019)
   02/14/2019    8      MOTION for Reconsideration re 5 Order dismissing case, filed by Plaintiff
                        Tami Mae Bronnenberg. (Attachments: # 1 Envelope)(Court Staff, scat)
                        (Entered: 02/14/2019)
   02/14/2019    9      AMENDED COMPLAINT against Defendant Big Horn Basin Chiropractic,
                        Cody WY, Beau J Eggar, Park County Board of County Commissioners, Park
                        County Detention Center, Marlin D Richardson, Servicm Legal Services LLC,
                        Sara L Struemke, William K Struemke, filed by Tami Mae Bronnenberg. (Court
                        Staff, scat) (Additional attachment(s) added on 2/14/2019: # 1 Supplement:
                        Certified copy of Exhibit D (page 14)) (Court Staff, sbh). (Entered: 02/14/2019)
   02/25/2019   10   7 ORDER On 28 U.S.C. § 1915 Screening of Amended Complaint 9 by the
                       Honorable Scott W Skavdahl. The amended complaint states a claim upon
                       which relief can be granted against Defendant Beau J. Eggar. It is Further
                       ORDERED that the Clerk of Court shall serve Defendant Beau J. Eggar in his
                       individual/personal capacity. It is Further ORDERED that Defendant Eggar
                       shall serve an answer within twenty−one(21) days of being served the summons
                       and complaint. It is Further ORDERED that all other claims alleged in the
                       amended complaint are dismissed with prejudice. It is Further ORDERED that
                       2 Motion for Leave to Proceed in forma pauperis is granted; It is Finally
                       ORDERED that 8 Motion for Reconsideration re 9 Amended Complaint is
                       denied as moot because the Court has herein screened anew her amended
                       complaint. Copy of Order mailed to Plaintiff on this date. (Court Staff, scat)
                       Modified text on 2/25/2019 (Court Staff, scat). (Entered: 02/25/2019)
   02/25/2019   11      WAIVER of Service Issued for Beau J. Eggar on 2/25/2019. Waiver of Service
                        due by 3/27/2019. (Court Staff, scat) (Entered: 02/25/2019)
   02/28/2019   12      ORDER by the Honorable Scott W Skavdahl denying 3 Motion to Appoint
                        Counsel. Copy of Order mailed to Plaintiff of this date. (Court Staff, scat)
                        (Entered: 02/28/2019)
   03/11/2019   13      WAIVER OF SERVICE Returned Executed by Beau J Eggar. Beau J Eggar
                        2/25/2019, answer due 4/26/2019 (Court Staff, sal) (Entered: 03/11/2019)
   03/12/2019   14      OBJECTION to 10 Order on 28 U.S.C. § 1915 Screening of Amended
                        Complaint filed by Plaintiff Tami Mae Bronnenberg. (Court Staff, scat) (Main
                        Document 14 replaced on 3/12/2019 to remove duplicate page) (Court Staff,
                        scat). (Entered: 03/12/2019)


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   03/15/2019   15    OBJECTION to 12 Order on Motion to Appoint Counsel filed by Plaintiff Tami
                      Mae Bronnenberg. (Attachments: # 1 envelope) (Court Staff, skb) (Main
                      Document 15 replaced on 3/20/2019 to correct pagination) (Court Staff, skb).
                      Modified on 3/20/2019 (Court Staff, skb). (Entered: 03/15/2019)
   03/26/2019   16    NOTICE of Attorney Appearance by Daniel E White on behalf of Beau J Eggar
                      (White, Daniel) (Entered: 03/26/2019)
   03/26/2019   17    NOTICE of Attorney Appearance by Adrian K Kowalski on behalf of Beau J
                      Eggar (Kowalski, Adrian) (Entered: 03/26/2019)
   03/26/2019   18    NOTICE of Unconstitutional Federal Statute, 28 U.S.C. §1915 by Plaintiff
                      Tami Mae Bronnenberg (Court Staff, scat) (Entered: 03/26/2019)
   03/26/2019   19    NOTICE OF INTERLOCUTORY APPEAL as to 10 Order On 28 U.S.C. §
                      1915 Screening of Amended Complaint by Plaintiff Tami Mae Bronnenberg.
                      (Filing fee not paid− IFP pending) (Court Staff, stbd) (Entered: 03/26/2019)
   03/26/2019   20    NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on
                      Privacy and Public Access MOTION to Appeal in forma pauperis filed by
                      Plaintiff Tami Mae Bronnenberg. (Court Staff, stbd) Modified on 4/2/2019
                      (Court Staff, stbd). (Entered: 03/26/2019)
   03/26/2019   21    NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on
                      Privacy and Public Access − AFFIDAVIT of Tami Mae Bronnenberg re 20
                      MOTION to Appeal in forma pauperis filed by Plaintiff Tami Mae
                      Bronnenberg. (Court Staff, stbd) (Entered: 03/26/2019)
   03/26/2019   22    Preliminary Record of appeal sent to USCA and counsel re 19 Notice of Appeal
                      The procedures and appeals packet may be obtained from our website at
                      www.wyd.uscourts.gov (Attachments: # 1 Preliminary Record on Appeal
                      Including Notice of Appeal) (Court Staff, stbd) (Entered: 03/26/2019)
   03/27/2019   23    Appeal Number 19−8026 received from USCA for 19 Notice of Appeal filed by
                      Tami Mae Bronnenberg. (Court Staff, stbd) (Entered: 03/28/2019)
   04/01/2019   24    ORDER by the Honorable Scott W Skavdahl granting 20 Motion for Leave to
                      Appeal in forma pauperis (cc: defendant via US Mail)(Court Staff,
                      stbd)Modified on 4/8/2019 (Court Staff, stbd). (Entered: 04/01/2019)
   04/03/2019   25    JUDICIAL NOTICE by Plaintiff Tami Mae Bronnenberg in Support of 18
                      Notice of Unconstitutional Federal Statute, 28 U.S.C. 1915. (Court Staff, scat)
                      (Entered: 04/03/2019)
   04/04/2019   26    Misdirected Appeal Document− Plaintiff's Motion for Voluntary Dismissal of
                      Notice of Appeal received and forwarded to USCA. (Court Staff, stbd)
                      (Entered: 04/04/2019)
   04/05/2019   27    MANDATE of USCA DISMISSING 19 Notice of Appeal filed by Tami Mae
                      Bronnenberg. (Attachments: # 1 Order) (Court Staff, stbd) (Entered:
                      04/05/2019)
   04/26/2019   28    Converted to MOTION for Summary Judgment per 30 MOTION to Dismiss
                      filed by Defendant Beau J Eggar. (Kowalski, Adrian) Modified text and event
                      on 4/30/2019 (Court Staff, scat). (Entered: 04/26/2019)
   04/26/2019   29
                                                                                                        4
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                      MEMORANDUM in Support of 28 Motion for Summary Judgment Motion to
                      Dismiss filed by Defendant Beau J Eggar. (Attachments: # 1 Exhibit 1, # 2
                      Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit Unpublished Case Hammett,
                      # 6 Exhibit Unpublished Case Calbart) (Kowalski, Adrian) Modified to remove
                      duplicate text on 4/29/2019 (Court Staff, scat). Modified text on 4/30/2019
                      (Court Staff, scat). (Entered: 04/26/2019)
   04/30/2019   30    ORDER Converting Defendants 28 MOTION to Dismiss to Motion for
                      Summary Judgment by the Honorable Scott W Skavdahl. Defendant's Motion to
                      Dismiss Plaintiff's Complaint 28 and accompanying memorandum 29 will be
                      treated and considered as a motion for summary judgment under Rule 56
                      Plaintiff is provided the opportunity to include all materials pertinent to the
                      motion with her response to the motion which she must file no later than
                      5/17/2019. Copy of Order provided to Plaintiff via US Mail(Court Staff, scat)
                      Modified text on 4/30/2019 (Court Staff, scat). Modified text on 5/2/2019
                      (Court Staff, scat). (Entered: 04/30/2019)
   05/17/2019   31    MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Order Correct
                      Spelling in Caption filed by Plaintiff Tami Mae Bronnenberg. (Attachments: #
                      1 Proposed Order)(Court Staff, scat) (Additional attachment(s) added on
                      5/17/2019: # 2 Envelope) (Court Staff, scat). (Entered: 05/17/2019)
   05/17/2019   32    MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Permission to
                      File 17 Page Response filed by Plaintiff Tami Mae Bronnenberg. (Attachments:
                      # 1 Proposed Order)(Court Staff, scat) (Entered: 05/17/2019)
   05/17/2019   33    RESPONSE to 28 MOTION for Summary Judgment, filed by Plaintiff Tami
                      Mae Bronnenberg. (Attachments: # 1 Affidavit of Tami Bronnenberg, # 2
                      Exhibit 1, # 3 Exhibit 2) (Court Staff, scat) (Entered: 05/17/2019)
   05/17/2019   34    ORDER by the Honorable Kelly H Rankin granting 32 Motion to File Excess
                      Pages. Plaintiff may file a response up to seventeen pages in length in
                      opposition to Defendant's Motion for Summary Judgment 28 . Copy of Order
                      mailed to Plaintiff on this date. (Court Staff, sjh) (Entered: 05/17/2019)
   05/24/2019   35    REPLY to 33 Response to Motion for Summary Judgment filed by Defendant
                      Beau J Eggar. (Attachments: # 1 Exhibit Unpublished Case Taylor v Burd)
                      (Kowalski, Adrian) (Entered: 05/24/2019)
   05/28/2019   36    MOTION for Declaratory Judgment filed by Plaintiff Tami Mae Bronnenberg.
                      (Attachments: # 1 Proposed Order, # 2 Envelope)(Court Staff, scat) (Entered:
                      05/28/2019)
   06/04/2019   37    (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin granting 31 Motion
                      for Order. Caption is amended as requested. Plaintiff sent a copy of the docket
                      sheet via U.S. Postal Service sent on 6/4/2019. (Court Staff, sjgc) (Entered:
                      06/04/2019)
   06/04/2019   38    MOTION for Summary Judgment, filed by Plaintiff Tami Mae Bronnenberg.
                      (Attachments: # 1 Proposed Order, # 2 Exhibit, # 3 Exhibit, # 4
                      Envelope)(Court Staff, scat) (Entered: 06/04/2019)
   06/11/2019   39    RESPONSE to 36 Motion for Judgment filed by Defendant Beau J Egger.
                      (Attachments: # 1 Exhibit Unpublished Case Lawrence v. Kuenhold, # 2
                      Exhibit Unpublished Case Potomac v. Pella, # 3 Exhibit Unpublished Case

                                                                                                        5
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                         Robinson v. Blank) (Kowalski, Adrian) (Entered: 06/11/2019)
   06/18/2019   40       RESPONSE to 38 Motion for Summary Judgment filed by Defendant Beau J
                         Egger. (Attachments: # 1 Exhibit Unpublished Case Bencomo v. Bd Cty
                         Commrs, # 2 Exhibit Unpublished Case Scott v. City of Albuquerque)
                         (Kowalski, Adrian) (Entered: 06/18/2019)
   06/24/2019   41       BRIEF in support of 36 Motion for Judgment filed by Plaintiff Tami Mae
                         Bronnenberg. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Envelope) (Court
                         Staff, scat) (Entered: 06/24/2019)
   06/25/2019   42       MOTION REFERRED TO Judge Kelly H Rankin. MOTION to Withdraw as
                         Attorney filed by Defendant Beau J Egger. (Attachments: # 1 Proposed
                         Order)(White, Daniel) (Entered: 06/25/2019)
   06/25/2019   43       ORDER by the Honorable Kelly H Rankin granting 42 Motion to Withdraw as
                         Attorney. Attorney Daniel E White terminated. (Court Staff, sjh) (Entered:
                         06/25/2019)
   07/01/2019   44       REPLY to 40 Response filed by Plaintiff Tami Mae Bronnenberg.
                         (Attachments: # 1 Appendix, # 2 Envelope) (Court Staff, stbd) (Entered:
                         07/01/2019)
   08/05/2019   45   19 ORDER GRANTING 28 Defendant's Motion for Summary Judgment by the
                        Honorable Scott W Skavdahl. Officer Egger is entitled to qualified immunity. It
                        is Further ORDERED that Plaintiff's 36 Motion for Declaratory Judgment and
                        38 Motion for Summary Judgment are DENIED. Final judgment in Defendants'
                        favor and against Plaintiff shall be entered in this matter and the case will be
                        closed. Copy of Order provided to Plaintiff via US Mail. (Court Staff, scat)
                        Modified text on 8/8/2019 (Court Staff, sjlg). (Entered: 08/05/2019)
   08/05/2019   46   28 JUDGMENT in favor of Defendant by the Honorable Scott W Skavdahl. Copy
                        of Judgment provided to Plaintiff via US Mail.(Court Staff, scat) (Additional
                        attachment(s) added on 8/5/2019: # 1 Bill of Costs) (Court Staff, scat).
                        (Entered: 08/05/2019)
   09/03/2019   47   31 NOTICE OF APPEAL as to 10 ORDER On 28 U.S.C. § 1915 Screening of
                        Amended Complaint 45 Order on Motion for Judgment, Order on Motion for
                        Summary Judgment & 46 Judgment, by Plaintiff Tami Mae Bronnenberg.
                        (Attachments: # 1 Envelope) (Court Staff, stbd) (Entered: 09/03/2019)




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                                                                              'FILED
                          UNITED STATES DISTRICT COURT                B(S I     OF WYOHfNS
                             DISTRICT OF WYOMING
                                                                      Z0I9FEB25 fiM8.-38
TAMI MAE BRONNENBERG,                                                         OASPlH


             Plaintiff,

       V.                                                    Case No. 19-CV-21-SWS


BEAU J. EGGAR,Arresting Officer; WILLIAM K.
STRUEMKE,Attorney; SARA L. STRUEMKE,
Secretary; SERVICM LEGAL SERVICES,LLC;
MARLIN D. RICHARDSON,DC;BIG HORN BASIN
CHIROPRACTIC;CITY OF CODY;PARK COUNTY
DETENTION CENTER;BOARD OF COUNTY
COMMISSIONERS OF THE COUNTY OF PARK;

              Defendants.



     ORDER ON 28 U.S.C.§ 1915 SCREENING OF AMENDED COMPLAINT


       This matter comes before the Court on Ms. Bronnenberg's pro se Amended 1983

 Civil Rights Complaint Pursuant to 42 USCS §1983(Doc. 9), filed on February 14, 2019.

 Because Ms. Bronnenberg seeks to proceed in forma pauperis in this action without the

 prepayment of fees (Doc. 2), the litigation process generally begins with the Court

 screening her amended complaint under 28 U.S.C. § 1915. See Buchheit v. Green, 705

 F.3d 1157, 1161 (10th Cir. 2012)(noting that prompt screening, even for cases involving

 non-prisoners,"may be a good thing and conserve the resources of defendants forced to

 respond to baseless lawsuits"). Ms. Bronnenberg's original civil rights complaint was

 dismissed without prejudice upon initial screening for failure to state a plausible claim




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upon which relief could be granted. (Doc. 5.) She then sought and received leave to file

this amended complaint(Docs. 6,7), which the Court now screens.

                                             LAW


       Section 1915(e)(2)(B) requires a district court to dismiss the case whenever the

court determines the action "fails to state a claim on which relief may be granted or seeks

monetary relief against a defendant who is immune fi^om such relief." See Merryfield v.

Jordan, 584 F.3d 923, 926 (10th Cir. 2009). For § 1915 screening purposes, the Court

accepts the Plaintiffs allegations as true and construes all reasonable inferences drawn
jfrom those allegations in the light most favorable to the Plaintiff. See Kay v. Bemis, 500

 F.3d 1214,1217-18(10th Cir. 2007).

                                         DISCUSSION


       The underlying basis for Ms. Bronnenburg's amended civil rights complaint seems

 to be an allegation that Defendant Beau Eggar*, a law enforcement officer at the relevant

 time, arrested her on January 31, 2017, on an invalid arrest warrant despite her attempts

 to explain to him why it was invalid. (Doc. 9 at pp. 3-4.) It appears she was released
 from detention less than an hour after being booked, ostensibly because the arrest warrant

 had indeed been canceled. (Id.) As for the other defendants, she alleges generally that

 they are somehow also responsible for her arrest and they conspired together to

 wrongfully arrest her.

 1,     Ms. Bronnenhurg has stated a plausible S 1983 claim for false arrest/false
        imprisonment under the Fourth Amendment against Defendant Beau Egger.



'Ms. Bronnenburg also spells this defendant's name as"Egger" in her amended complaint.
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           Officer Eggar "was relying on" an arrest warrant as his basis for arresting Ms.

 Bronnenburg. (Doc. 9 at p. 3.) Attached as "Exhibit A" to her amended complaint is an

 "Order Vacating Warrant and Resetting Previously Scheduled Hearing," entered by the

 state district judge of the Fifth Judicial District of Wyoming. (Doc. 9 at p. 11.) It was

 entered on January 17, 2017, and it ordered "that the Warrant issued January 9, 2017 in

 this matter is vacated." {Id.) Ms. Bronnenburg alleges she showed this order to Officer

 Eggar at the time he arrested her on January 31, 2017, to convince him not to execute the

 arrest warrant, but he ignored her and arrested her anyway. (Doc. 9 at pp. 3-4, 5.)

 Nowhere in her amended complaint does Ms. Bronnenburg suggest the arrest warrant on

 which Officer Eggar relied was somehow invalid on its face {see generally Doc. 9), but

 its facial validity can be reasonably questioned at this point, particularly considering that

 the order vacating the warrant had been filed two weeks prior to Ms. Bronnenburg's

 arrest.


           Generally, an officer executing an arrest warrant that is valid on its face enjoys

 absolute immunity (also known as "quasi-judicial immunity"). "Just as judges acting in

 their judicial capacity are absolutely immune from liability under section 1983, official[s]

 charged with the duty of executing a facially valid court order enjoy[] absolute immunity

 from liability for damages in a suit challenging conduct prescribed by that order." Moss

 V. Kopp, 559 F.3d 1155, 1163 (10th Cir. 2009)(alterations in original)(quoting Turney v.

 O'Toole, 898 F.2d 1470, 1472 (10th Cir. 1990)). However, to be entitled to this absolute

 immunity, "the judge issuing the disputed order must be immune from liability in his or

  her own right, the officials executing the order must act within the scope of their own

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 jurisdiction, and the officials must only act as prescribed by the order in question." Id.
 The amended complaint does not suggest whether these absolute-immumty requirements

 are or are not met. But construing Ms. Bronnenburg's alleges as true and making all

 reasonable inferences in her favor, as the Court must do at this preliminary stage, the

 Court finds a plausible claim of false arrest/false imprisonment in violation of the Fourth
 Amendment has been stated in the amended complaint, and the question remains whether

 Officer Eggar is entitled to absolute immunity from that claim.

 2.     Ms. Bronnenhurg has not stated anv other plausible S 1983 claims against
        Officer Eggar or against any other defendant.

        Ms. Bronnenburg's "Cause of Action" section in her amended complaint attempts

 to assert several other claims against Officer Eggar and the other defendants, but those

  allegations do not create viable claims under 42 U.S.C. § 1983 for several reasons.
        First, there is no due process claim stated in connection with her false arrest/false

  imprisonment because there is no allegation that legal process was ever instituted against
  Ms. Bronnenburg. Indeed, her amended complaint suggests she was released about an
  hour after booking and nothing more ever came of it. (Doc. 9 at pp. 3-4.) Thus, there is
  no due process violation stated in her amended complaint. See Mondragon v. Thompson,
  519 F.3d 1078, 1083 (10th Cir. 2008)(explaining that a false arrest/false imprisonment
  claim under the Fourth Amendment accrues during "[t]he period of time between an

  unlawful arrest and the institution of legal process," whereas a due process claim under
  the Fourteenth Amendment accrues during "[t]he period of time between the institution

  of[legal] process and its favorable termination").


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        Second, as to her claims of Wyoming Constitution violations, 42 U.S.C. § 1983

 "applies to federal constitutional violations and not to state constitutional violations."

 Herrera v. Santa Fe Public Schools^ 41 F. Supp. 3d 1027, 1081 n.l23(D.N.M. 2014);see

 also Davis v. Reynolds, 890 F.2d 1105, 1109 n.3 (10th Cir. 1989) (describing a claim

 grounded in the state constitution as a state law claim)(citing Pulley v. Harris, 465 U.S.

 37, 41 (1983)); Brock v. Herbert, 2012 WL 1029355, at *2 (D. Utah Mar. 26, 2012)

 (unpublished)(describing alleged violations ofthe Utah Constitution as "exclusively state

 law claims"). To state a claim xmder § 1983, a plaintiff must allege the violation of a

 right secured by the U.S. Constitution or federal law, West v. Atkins, 487 U.S. 42, 48

 (1988); an alleged violation of state law does not amount to a § 1983 claim. However,

 Ms. Bronnenburg relies on § 1983 as the basis for asserting all her claims, even naming

 her complaint "Amended 1983 Civil Rights Complaint Pursuant to 42 USCS §1983."

 (Doc. 9.) Section 1983 does not afford Ms. Bronnenburg the right to bring state law

 claims in federal court. This principle also precludes her claims alleging the defendants

 violated state criminal statutes and state rules of criminal procedure.

        Third, as to her claims alleging violations of federal criminal statutes (such as

 kidnapping and conspiracy to kidnap in violation of 18 U.S.C. § 1201),"a plaintiff may

 not recover civil damages for an alleged violation of a criminal statute." Shaw v. Niece,

 111 F.2d 947, 949 (10th Cir. 1984). Criminal statutes "do not provide for a private civil

  cause of action." Henry v. Albuquerque Police Dep't, 49 F. App'x 212, 273 (10th Cir.

  2002)(unpublished)(stating that 18 U.S.C. §§ 241 and 242 do not create a private civil

  cause of action); see also Diamond v. Charles, 476 U.S. 54, 64-65 (1986)(holding that
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 private citizens cannot compel enforcement of criminal law); Andrews v. Heaton, 483

 F.3d 1070,1076(10th Cir. 2007)("criminal statutes that do not provide for a private right

 of action[] are[] not enforceable through a civil action"). Ms. Bronnenburg's claims that

 the defendants violated certain criminal statutes are not viable causes of action in this

 civil lawsuit.


        Fourth, her claims alleging the defendants violated the Federal Rules of Criminal

 Procedure are also incognizable because "rules governing procedure in the federal courts

 do not give rise to private causes of action." Good v. Khosrowshahi, 296 F. App'x 676,
 680(10th Cir. 2008)(unpublished); see also Duncan v. Jackson Energy Auth., No. 1:15-

 CV-1238-JDB-EGB, 2016 WL 4079033, at *2 (W.D, Term. June 28, 2016)

 (unpublished), report and recommendation adopted. No. 15-1238, 2016 WL 4074482

 (W.D. Tenn, July 29, 2016)(unpublished) (stating that "[n]either the Federal Rules of

 Civil Procedure nor the Federal Rules of Criminal Procedure provides" a plaintiff with a

 private cause of action against a defendant); Heiken v. Meeks, No. 2:17-CV-304-WKW,

 2018 WL 1163467, at *3 (M.D. Ala. Feb. 12, 2018) (unpublished), report and

 recommendation adopted, No. 2:17-CV-304-WKW, 2018 WL 1157550(M.D. Ala. Mar.

 5, 2018)(unpublished)(holding that a state's rules of criminal procedure "do not create a

  private right of action for violations of the rules"). Ms. Bronnenburg's claims that the

  defendants violated certain rules of criminal procedure are not viable causes of action in

  this civil lawsuit.


         Fifth, as to all defendants except Officer Eggar, Ms. Bronnenburg's claims of a

  mass conspiracy to kidnap or falsely arrest her fail to state a plausible claim upon which
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 relief can be granted. Under the U.S. Supreme Court's decisions in Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), federal

 pleading "demands more than an unadorned, the-defendant-unlawfiilly-harmed-me

 accusation." Gee v. Pacheco, 627 F.3d 1178, 1184 (10th Cir. 2010)(internal quotation

 marks omitted). "[A] complaint must contain sufficient factual matter, accepted as true,

 to state a claim to relief that is plausible on its face." Iqbal, 556 U.S. at 678 (internal

 quotation marks omitted). "In § 1983 cases, defendants often include the government

 agency and a number of government actors sued in their individual capacities. Therefore

 it is particularly important in such circumstances that the complaint make clear exactly

 who is alleged to have done what to whom, to provide each individual with fair notice as

 to the basis of the claims against him or her, as distinguished from collective allegations

 against the state." Bobbins v. Oklahoma, 519 F.3d 1242, 1249—50 (10th Cir. 2008)

 (emphasis in original) (citing Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1970-71

 n.lO (2007)). Ms. Bronnenburg's amended complaint, however, entirely fails to set forth

 any factual allegations in support of her claims against the remaining defendants. Ms.

 Bronnenburg's bald assertions, e.g., that a local attorney and a local chiropractor

 conspired to have Ms. Bronnenburg falsely arrested so they could hold her "for

 collections (ransom)"(Doc.9 at p. 5), are untethered to any supporting factual allegations

 and constitute no more than speculation and conjecture, which fails to state a plausible

 claim on which relief can be granted. "Conclusory allegations of conspiracy are

 insufficient to state a valid § 1983 claim." Durre v. Dempsey, 869 F.2d 543, 545 (10th

  Cir. 1989); see also Fuller v. Davis, 594 F. App'x 935, 939 (10th Cir. 2014)

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(unpublished) (affirming the trial court's dismissal of a § 1983 claim of conspiracy

 because the "plaintiffs conjecture that [a defendant] conspired with other defendants to

 create an unenforceable no-contact order is too speculative and conclusory" to state a

 plausible claim for relief). Indeed, most of Ms. Bronnenburg's allegations against the

 remaining defendants consist of assertions that the defendants have certain duties, e.g.,

 that the local attorney is bound by Wyoming's attorney oath, but never actually alleges

 those duties were breached (let alone how they were breached). {See Doc. 9 at pp. 6-8.)

 A cause of action unsupported by factual allegations must be dismissed for failure to state

 a claim on which relief may be granted.

        Sixth, concerning the § 1983 claims against the governmental entities (here, the

 City of Cody, the Park County Detention Center, and the Park County Board of County
 Commissioners), Ms. Bronnenburg has not identified any policy, custom, or practice as

 the driving force behind the alleged constitutional violation. Section 1983 does not allow

 governmental entities to be held vicariously liable for the unlawful acts of their
 employees under respondeat superior principles. See Monell v. Department of Social
 Servs., 436 U.S. 658, 691 (1978). That is, they cannot be liable solely because they
 employed a liable employee. Instead, governmental entities may only be liable under §
  1983 for their own unconstitutional conduct, specifically where constitutional deprivation

 is inflicted pursuant to the governmental entity's policy, custom, or practice. Monell, at
 690-91, 694. "Locating a policy ensures that a municipality [or other governmental
  entity] is held liable only for those deprivations resulting from the decisions of its duly
  constituted legislative body or ofthose officials whose acts may fairly be said to be those
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 of the municipality." Board of County Commissioners ofBryan County, OkL v. Brown,

 520 U.S. 397,403-04(1997).

       Here, Ms. Bronnenburg did not identify any policy from the Park County

 Detention Center or the Board of County Commissioners, let alone a policy that caused

 her alleged constitutional deprivation. {See Doc. 9 at p. 8.) As to the City of Cody, Ms.

 Bronnenburg identified a city policy that prohibits its employees from discriminating

 against or harassing others. (Doc. 9 at p. 7.) She did not explain how this policy caused

 her alleged constitutional deprivation. {See id.) In fact, it seems she has asserted the

 defendants violated this policy and their policy violation led to her alleged constitutional

 deprivation. {See id.) This is no basis for municipal liability under § 1983, though. As

 noted above, the City of Cody cannot be held liable under § 1983 for the illegal conduct

 ofits employees unless the city caused such illegal conduct through a city policy, custom,

 or practice. Ms. Bronnenburg's allegation here is that one or more city employees caused

 her alleged constitutional violation because they failed to follow the city's non-

 discrimination/non-harassment policy, but this is the exact opposite of the mumcipal

 liability allowed under § 1983.

        Seventh and fmally, Ms. Bronnenburg sued each defendant "Individually,

 Personally, City AND County Officially" (sic). (Doc. 9 at pp. 1-3 (emphasis in

 original).) It is reasonable to construe this language as Ms. Bronnenburg's attempt to sue

 the defendants in both their individual and official capacities. However, official-capacity

 suits "generally represent only another way of pleading an action against an entity of

 which an officer is an agent." Kentucky v. Graham, 473 U.S. 159, 165-66 (1985)

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(quoting Monell v. New York City Dept. of Social Services, 436 U.S. 658, 690 n.55

 (1978)). "As long as the government entity receives notice and an opportunity to

 respond, an official-capacity suit is, in all respects other than name, to be treated as a suit

 against the entity. It is not a suit against the official personally, for the real party in

 interest is the entity." Id. at 166 (intemal citation omitted). Because the Court

 determined above that Ms. Bronnenburg failed to state plausible claims against the

 governmental entities, the official-capacity claims must be dismissed along with those

 governmental-entity claims because they are one and the same.

 3.     All claims except for false arrest/false imprisonment against Defendant Eggar
        are dismissed with prejudice because further amendment would be futile.

        When dismissing pro se claims for failure to state a plausible claim upon which

 relief can be granted, "the district court should allow a plaintiff an opportunity to cure

 technical errors or otherwise amend the complaint when doing so would yield a

 meritorious claim." Curley v. Perry, 246 F.3d 1278, 1284 (10th Cir. 2001). "Pro se

 litigants are to be given reasonable opportunity to remedy the defects in their pleadings."

 Hall V. Bellmon,935 F.2d 1106,1110 n.3 (10th Cir. 1991).

        The Court dismisses with prejudice all claims except the false arrest/false

 imprisonment claim against Defendant Eggar because Ms. Bronnenburg was previously

 provided an opportunity to amend her complaint to state plausible claims for relief. {See

 Doc.5 (dismissing without prejudice the original complaint); Doc. 7(granting request for

 leave to amend the original complaint).) Ms. Bronnenburg was provided the opportunity

 to cure the deficiencies in her original complaint and did so with regard to her false


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 arrest/false imprisonment claim under the Fourth Amendment against Defendant Eggar.

 She has not cured her other pleading deficiencies, though, and after two bites at the same

 apple, the Court finds her repeated failures to plausibly state her other claims do not

 warrant additional amendment. Consequently, the Court concludes allowing further

 amendment would be futile.


                                         ORDER


       IT IS THEREFORE ORDERED that the amended complaint (Doc. 9) states a

 plausible claim upon which relief can be granted against Defendant Beau J. Eggar in his

 individual/personal capacity for false arrest/false imprisonment in violation of the Fourth

 Amendment.


       IT IS FURTHER ORDERED that the Clerk of Court shall serve Defendant Beau

 J. Eggar,in his individual/personal capacity, as follows:

        1.     The Clerk shall send Defendant Eggar a copy of the complaint, a notice of

               lawsuit, and a copy of this Order on 28 U.S.C. § 1915 Screening of

               Amended Complaint, and the Clerk shall request Defendant Eggar to waive

               service of a summons in the manner set forth in Fed. R. Civ. P. 4(d); and

        2.     If Defendant Eggar fails to return a waiver of service within thirty(30)days

               fi-om the date on which the request for waiver was sent, the Clerk of Court

               shall issue a summons for Defendant Eggar and shall deliver the summons

               (along with a copy of the complaint and this Order) to the United States

               Marshal for service on Defendant Eggar pursuant to Fed. R. Civ. P. 4(c)(3).



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       IT IS FURTHER ORDERED that Defendant Eggar shall serve an answer within

 twenty-one (21) days of being served the summons and complaint, or, if service of the

 summons is timely waived under Fed. R. Civ. P. 4(d), then within sixty (60) days after

 the date when the request for waiver was sent.

       IT IS FURTHER ORDERED that all other claims alleged in the amended

 complaint are dismissed with prejudice under 28 U.S.C. § 1915(e)(2)(B)(ii).

       IT IS FURTHER ORDERED that Ms. Bronnenburg's Application to Proceed in

 District Court Without Prepaying Fees or Costs (Doc. 2) is granted under 28 U.S.C. §

 (a). However,"like any ifp litigant,[Ms. Bronnenburg] remains liable for the full amount

 of the filing fee." Brown v. Eppler, 725 F.3d 1221, 1231 (10th Cir. 2013); see also
 Robbins v. Switzer, 104 F.3d 895, 898 (7th Cir. 1997) ("[A]ll § 1915(a) does for any

 litigant is excuse the pre-payment of fees. Unsuccessful litigants are liable for fees and

 costs and must pay when they are able.").

        IT   IS   FINALLY       ORDERED           that   Ms. Bronnenburg's "Motion       to

 Reconsideration"(Doc. 8)is denied as moot because the Court has herein screened anew

 her amended complaint.

        DATED:February..?.^ .2019.



                                                    Scott W.Skavdahl
                                                    United States District Judge




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                           UNITED STATES DISTRICT COURT                    OISTP n     ."•
                               DISTRICT OF WYOMING                         2019 ftUG "5 ftH 8= 51

 TAMI MAE BRONNENBERG,

              Plaintiff,

       V.                                                     Case No. 19-CV-21-SWS


 BEAU J. EGGER, Arresting Officer,

              Defendant.



  ORDER GRANTING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT



       This case comes before the Court on the following motions:

       (1)    Defendant Egger's Motion to Dismiss Plaintiffs Complaint (Doc. 28),

              which was converted into a motion for summary judgment under Fed. R.

              Civ. P. 12(d) (Doc. 30). Plaintiff filed an opposition (Doc. 33), and

              Defendant replied(Doc. 35).

       (2)    Plaintiffs Motion for Declaratory Judgment (Doc. 36), Defendant's

              opposition (Doc. 39), and Plaintiffs reply (Doc. 41).

       (3)    Plaintiffs Motion for Summary Judgment (Doc. 38), Defendant's

              opposition (Doc. 40), and Plaintiffs reply (Doc. 44).

 Having considered the parties' arguments, the record herein, and being otherwise fully

 advised, the Court finds Defendant Egger is entitled to qualified immunity in this action.

 Consequently, Defendant's motion for summary judgment must be granted and Plaintiffs

 opposing motions denied.



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                                           BACKGROUND


         Plaintiff Tami Bronnenberg proceeds pro se without the aid of a lawyer in this

 matter. Therefore, her "pleadings are to be construed liberally and held to a less stringent

 standard than formal pleadings drafted by lawyers," but the Court cannot "assume the

 role of advocate." Hall v. Bellmon,9^S¥26. 1106, 1110(10th Cir. 1991).

         After screening Ms. Bronnenberg's amended civil rights complaint (Doc. 9), the

 Court found she had stated a plausible claim under 42 U.S.C. § 1983 for false arrest/false

 imprisonment in violation of the Fourth Amendment against Defendant Egger.* (Doc.

 10.) More specifically, she contends Defendant Egger, a law enforcement officer

 working for the City of Cody, Wyoming, at the relevant time, arrested her on January 31,

 2017, on an invalid arrest warrant despite her attempts to explain to him why it was

 invalid and showing him a court order canceling the warrant. (Doc. 9 at pp. 3-4.) The

 evidence submitted by the parties establishes that the warrant had indeed been vacated by

 the state district court judge, and Ms. Bronnenberg was released from detention less than

 an hour after being booked into the local jail. {See Doc. 9 at pp. 11-13; Doc. 29-2 at pp.

 2-3.) The Court determines the dispositive question is whether Officer Egger is protected

 by qualified immunity in relation to arresting Ms. Bronnenberg.

                SUMMARY JUDGMENT AND QUALIFIED IMMUNITY

         "The court shall grant summary judgment ifthe movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a matter



 ' The remainder of Ms. Bronnenberg's claims were dismissed in screening under 28 U.S.C. §
 1915(e)(2)(B)(ii)for failure to state a claim upon which relief could be granted. (Doc. 10.)

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 oflaw." Fed. R. Civ. P. 56(a). A dispute is genuine "if there is sufficient evidence on

 each side so that a rational trier of fact could resolve the issue either way," and it is

 material "if under the substantive law it is essential to the proper disposition ofthe

 claim." Becker v. Bateman, 709 F.3d 1019, 1022(10th Cir. 2013)(internal quotation

 marks omitted). "The district court must draw all reasonable inferences in favor ofthe

 nonmoving party." Pioneer Centres Holding Co. Employee Stock Ownership Plan & Tr.

 V. Alerus Fin., N.A., 858 F,3d 1324, 1334(10th Cir. 2017).

        Qualified immunity protects government officials "fi*om liability for civil damages

 insofar as their conduct does not violate clearly established statutory or constitutional

 rights of which a reasonable person would have known." Harlow v. Fitzgerald, 457 U.S.

 800,818(1982).

        When a defendant asserts qualified immunity at summary judgment, the
        burden shifts to the plaintiff, who must clear two hurdles in order to defeat
        the defendant's motion. The plaintiff must demonstrate on the facts alleged
        both that the defendant violated his constitutional or statutory rights, and
        that the right was clearly established at the time of the alleged unlawful
        activity.

 Cox V. Glanz, 800 F.3d 1231, 1245 (10th Cir. 2015) (emphasis in original) (quoting

 Riggins V. Goodman, 572 F.3d 1101, 1107(10th Cir. 2009)). Though the Court must still

 view the evidence in the light most favorable to the non-moving party, the "record must

 clearly demonstrate the plaintiff has satisfied his heavy two-part burden; otherwise, the

 defendants are entitled to qualified immunity." Felders ex rel. Smedley v. Malcom, 755

 F.3d 870, 878 (10th Cir. 2014)(quoting Medina v. Cram, 252 F.3d 1124, 1128 (10th Cir.

 2001)).


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                                       DISCUSSION


         Examining the first step of the qualified-immunity analysis, Ms. Bronnenberg has

 not established Officer Egger violated her constitutional rights. The affidavit from

 Defendant Egger establishes that a facially-valid warrant for Ms. Bronnenberg's arrest

 existed at the time he arrested her, that he called into dispatch to confirm the validity of

 the arrest warrant, and that dispatch affirmed through the "RIMS Computer Aided

 Dispatch System" the arrest warrant was still active. (Doc. 29-2 at pp. 1-3; see also Doc.

 29-1 at p. 2; Doc. 29-3 at pp. 1-2; Doc. 29-4.) Ms. Bronnenberg does not dispute these

 material facts, but essentially contends Officer Egger's actions were unconstitutional

 anyway. She asserts Officer Egger "was relying on" an arrest warrant as his basis for

 arresting Ms. Bronnenburg. (Doc. 9 at p. 3.) Attached as "Exhibit A" to her amended

 complaint is an "Order Vacating Warrant and Resetting Previously Scheduled Hearing,"

 entered by the state district judge ofthe Fifth Judicial District of Wyoming. (Doc. 9 at p.

 11.) It was entered on January 17, 2017, and it ordered "that the Warrant issued January

 9, 2017 in this matter is vacated." {Id.) Ms. Bronnenburg alleges she showed this order

 to Officer Egger at the time he arrested her on January 31, 2017, to convince him not to

 execute the arrest warrant, but he ignored her and arrested her anyway. (Doc. 9 at pp. 3-

 4,5.)

         Generally, an officer executing an arrest warrant that is valid on its face enjoys

 absolute immunity (also known as "quasi-judicial immunity"). "Just as judges acting in

 their judicial capacity are absolutely immune from liability under section 1983, official[s]

 charged with the duty of executing a facially valid court order enjoy[] absolute immunity

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 from liability for damages in a suit challenging conduct prescribed by that order." Moss

 V. Kopp, 559 F.3d 1155, 1163 (10th Cir. 2009)(alterations in original)(quoting Turney v.

 O'Toole, 898 F.2d 1470, 1472 (10th Cir. 1990)). And "[f]acially valid does not mean

 lawful. An erroneous order can be valid." Turney^ 898 F.2d at 1473 (internal quotation

 marks omitted)(citing Baker v. McCollan, 443 U.S. 137, 143-44 (1979)). To be entitled

 to absolute immunity, "the judge issuing the disputed order must be immune from

 liability in his or her own right, the officials executing the order must act within the scope

 of their own jurisdiction, and the officials must only act as prescribed by the order in

 question." Moss^ 559 F.3d at 1163.

         The undisputed evidence presented by the parties in their competing summary

 judgment motions establishes the state district court judge issued the arrest warrant due to

 Ms. Bronnenberg's earlier failure to appear on a show cause order(Doc. 29-4), and there

 is no suggestion the state judge lacked this authority. Next, the undisputed evidence

 shows Officer Egger, a police officer for the City of Cody, Wyoming, acted within the

 scope of his jurisdiction as he executed what appeared to be a valid arrest warrant within

 the city limits of Cody, Wyoming. (Doc. 29-2 at p. 1.) Finally, the undisputed evidence

 demonstrates Officer Egger acted in conformity with the arrest warrant and not beyond it

 by arresting Ms. Bronnenberg and immediately transporting her to the local detention

 center. (Doc. 29-1 at p. 2.) Consequently, all requirements for absolute (or quasi-

 judicial) immunity are met here, and Officer Egger is immune from liability under §

 1983.




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        The Tenth Circuit has considered similar situations on multiple occasions. For

 example, in Hill v. Bogans, 735 F.2d 391 (10th Cir. 1984), the plaintiff asserted the

 officer violated the plaintiffs civil rights "by failing to check the validity of the warrant

 when requested to do so." 735 F.2d at 393. The Tenth Circuit disagreed, saying,"Unless

 a warrant is facially invalid an officer has no constitutional duty to independently

 determine its validity." Id. (citing Baker, 443 U.S. at 145-46). The court held the police

 officers "acted reasonably in relying on routine police procedures [i.e., calling the police

 station] for establishing the existence of an outstanding warrant." Id.', see also Smith v.

 City ofLakewood, 83 F.3d 433 (10th Cir. 1996)(unpublished table decision)(stating that

 a facially-valid arrest warrant "unquestionably justified Smyth's arrest by Kuebler");

 Taylor v. Robinson, 2016 WL 9488864, at *4(D.N.M. Dec. 5, 2016)("Because dispatch

 informed Burd that there was an active warrant for Plaintiffs arrest, the Court finds that

 it was reasonable for Burd to rely on this information.").

        Here, Officer Egger acted reasonably when arresting Ms. Bronnenberg. He relied

 on routine police procedures to determine the arrest warrant's continuing validity by

 calling into dispatch, which checked the RIMS computer system and informed Officer

 Egger the arrest warrant was still active. Based on that information, Officer Egger

 executed the facially-valid arrest warrant. Even in the face of Ms. Bronnenberg's

 protests, Officer Egger's actions were constitutionally reasonable because an officer "is

 not required by the Fourth Amendment to obtain a copy of the warrant, research

 supporting documentation, or go behind the facial validity of a warrant before making the

 arrest." Smyth, 83 F.3d 433; see also Lauer v. Dahlberg, III F. Supp. 612,614(N.D. 111.

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  1989) (determining that an officer was not required to fiirther investigate the arrest

 warrant's validity even where, like alleged here, the officer was presented with "an

 uncertified copy ofthe [warrant] recall order").

        It is unfortunate that the state court judge's order vacating the arrest warrant was

 not timely registered into the RIMS computer system.              The disruption to Ms.

 Bronnenberg's life, though relatively brief, was significant and should not be ignored.

 However, it's not appropriate to make Officer Egger answer for that mistake when there's

 no evidence to suggest it was his doing. "Simple fairness requires that state officers 'not

 be called upon to answer for the legality of decisions which they are powerless to

 control.'" Turneyv. O'Toole, 898 F.2d 1470, 1473 (10th Cir. 1990)(quoting Valdezv.

 City & County of Denver, 878 F.2d 1285, 1289 (10th Cir. 1989)). The undisputed

 evidence presented by the parties' summary judgment motions shows Officer Egger did

 not violate Ms. Bronnenberg's constitutional rights when he arrested her pursuant to the

 facially-valid warrant because he acted as a reasonable officer in doing so and is

 protected by absolute (quasi-judicial) immunity.

        Turning now to the second prong of the qualified immunity analysis, Ms.

 Bronnenberg has also failed to show the alleged right was clearly established at the time

 of the alleged unlawful activity. It is difficult to isolate exactly what right she contends

 was violated by Officer Eggers. {See Doc. 33.) For example, she discussed the need for

 an arrest warrant or search warrant to be supported by probable cause (Doc. 33 at pp. 4-

 5), which is an accurate reflection of the Fourth Amendment. However, there's no

 evidence to suggest the state court judge's arrest warrant was not supported by probable

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 cause. (Doc. 29-4 (stating the arrest warrant was issued due to Ms. Bronnenberg's failure

 to appear for a prior show cause hearing).) And even if the arrest warrant did lack

 supporting probable cause when it was issued, that would not demand money damages

 against Officer Eggers for executing the facially-valid warrant. Turney^ 898 F.2d at 1473

 (officers should "not be called upon to answer for the legality of decisions which they are

 powerless to control").

        At best, Ms. Bronnenberg relies upon general Fourth Amendment principles in

 alleging Officer Eggers violated her constitutional rights, but the U.S. Supreme Court

 demands that "the clearly established right must be defined with specificity." City of

 Escondido, Cal v. Emmons, 139 S. Ct. 500, 503 (2019) (per curiam). The Supreme

 Court "has repeatedly told courts ... not to define clearly established law at a high level of

 generality." Id. (quoting Kisela v. Hughes, 138 S. Ct. 1148, 1152 (2018)(per curiam)).

 Ms. Bronnenberg has not set forth a clearly-established right that Officer Eggers

 allegedly violated. "[TJhere is no clearly established law to the effect that an arrest based

 on execution of a court's bench warrant may constitute false arrest." Zamora v. City of

 Helen, 383 F. Supp. 2d 1315, 1338 (D.N.M. 2005). The Court cannot conclude that

 "every reasonable official would have understood" that Officer Egger's conduct here was

 unreasonable and in violation of the Fourth Amendment. Aschcroft v. al-Kidd, 563 U.S.

 731, 741 (2011){q)\oX\Yig Anderson v. Creighton, 483 U.S. 635,640(1987)).

                              CONCLUSION AND ORDER


        Based on the undisputed evidence presented by the parties, Ms. Bronnenberg has

 not overcome either prong of the qualified immunity defense. Consequently, Officer

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 Eggers is entitled to qualified immunity, which protects him against liability for civil

 damages.

        Ms. Bronnenberg's request for a declaratory judgment {see Doc. 9 at p. 9) must be

 denied because it seeks a declaration aimed at past conduct, but the "Eleventh

 Amendment does not permit judgments against state officers declaring that they violated

 federal law in the past." Johns v. Stewart, 57 F.3d 1544, 1553 (10th Cir. 1995). Finally,

 Ms. Bronnenberg's request for an injunction against any future constitutional

 deprivations {see Doc. 9 at p. 9) must also be denied because "the complaint alleged no

 threatened violations other those specifically charged," yet "the necessary determination

 [for an injunction to issue] is that there exists some cognizable danger of recurrent

 violation." United States v. W. T. Grant Co., 345 U.S. 629,633(1953).

        IT IS THEREFORE ORDERED that Defendant Egger's Motion to Dismiss

 Plaintiffs Complaint (Doc. 28) is GRANTED. Officer Egger is entitled to qualified

 immunity.

        IT IS FURTHER ORDERED that Plaintiffs Motion for Declaratory Judgment

 (Doc. 36) and Plaintiffs Motion for Summary Judgment (Doc. 38) are DENIED. Final

 judgment in Defendants' favor and against Plaintiff shall be entered in this matter and the

 case will be closed.


        DATED: July             2019.


                                                "^JScott \V. Skavdahl
                                                  United States District Judge



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AO 133       (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
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                                                                    __________     of Wyoming
                                                                                District of __________
                                                                                                 )
                                                                                                 )
                                          v.                                                     )         Case No.:
                                                                                                 )
                                                                                                 )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                                                     against                                                 ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .
Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                               TOTAL            $                0.00

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ’          Electronic service                                    ’         First class mail, postage prepaid
         ’          Other:
             s/ Attorney:
                          Name of Attorney:
For:                                                                                                                                                 Date:
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                         and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                             Date
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                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                        Total Cost
          NAME , CITY AND STATE OF RESIDENCE                                    Total               Total                Total         Each Witness
                                                                     Days       Cost      Days      Cost      Miles      Cost


                                                                                                                                                $0.00



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                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.



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